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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


UNITED STATES OF AMERICA,

         Plaintiff,                                        Case No. 05-80031

v.                                                         Honorable John Corbett O’Meara

MARIO TAYLOR,

         Defendant.
                                        /

                ORDER DENYING DEFENDANTS' PRETRIAL MOTIONS

      This matter came before the court on defendant Mario Taylor's July 6, 2005 Motion for

Pretrial Evidentiary Hearing on the Existence of a Purposeful Connection Between the Killing and

any Qualifying Narcotics Transaction and defendant Antonio Taylor's December 1, 2005 Motion

to Dismiss Indictment Based Upon Excessive Pre-Indictment Delay and/or Failure to Preserve

Material Evidence. The government filed responses January 13 and 20, 2006; and oral argument

was heard January 26, 2006.

      Defendant Mario Taylor's motion, as the title implies, seeks a pretrial evidentiary hearing on

the existence of a purposeful connection between the killing and a qualifying narcotics transaction.

In support of the motion, Defendant cites a number of cases which delineate the legal requirements

of a conviction. In addition, Defendant points to facts to support his contention that the government

cannot prove the elements of the crime at trial. In essence, Defendant wants the court to first

determine whether the government has proved every element of the crimes charged in the context

of an evidentiary hearing before trial by a jury. This novel approach is unsupported by the law,

including United States v. Garcia, 68 F. Supp. 2d (E.D. Mich. 1999), a case in which the district
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court made a legal decision based on uncontested facts. Nothing in Garcia can be interpreted to

require the government in this case to proffer evidence regarding how it intends to prove the charges

against these defendants. Therefore, the court will deny the motion for evidentiary hearing.

                                             ORDER

      It is hereby ORDERED that defendant Mario Taylor's July 6, 2005 motion for a pretrial

evidentiary hearing is DENIED.

      It is further ORDERED that defendant Antonio Taylor's December 1, 2005 motion to dismiss

the indictment is DENIED for the reasons set forth on the record January 26, 2006.




                 s/John Corbett O'Meara
                 John Corbett O'Meara
                 United States District Judge


Dated: February 21, 2006




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